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     THE HAIN CELESTIAL GROUP, INC. and
 7   JASON NATURAL PRODUCTS, INC.
 8

 9                                UNITED STATES DISTRICT COURT

10                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

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12   SKYE ASTIANA and TAMAR DAVIS                        Case No.    CV 11-6342-PJH (DMR)
     LARSEN,
13                                                       [PROPOSED] ORDER GRANTING
                           Plaintiffs,                   DEFENDANTS’ LETTER REQUEST
14                                                       REGARDING ATTENDANCE AT
            v.                                           SETTLEMENT CONFERENCE
15
     THE HAIN CELESTIAL GROUP, INC. and
16   JASON NATURAL PRODUCTS, INC.,

17                         Defendants.

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     [PROPOSED] ORDER GRANTING DEF.’S LETTER REQUEST RE ATTENDANCE AT SETTLEMENT CONFERENCE
     CASE NO. CV-11-6342-PJH (DMR)
     sf-3625571
       Case 4:11-cv-06342-PJH Document 120 Filed 02/24/16 Page 2 of 2



 1          Having considered Defendant The Hain Celestial Group, Inc.’s letter request dated
 2   February 23, 2016, filed concurrently herewith,
 3          IT IS HEREBY ORDERED:
 4          Lead trial counsel for Defendants, James M. Schurz, is excused from attending the
 5   March 4, 2016 settlement conference and Kevin M. Coles may attend in his place.
                                                                            S DISTRICT
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 6          IT IS SO ORDERED.                                           TA




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 8           February 24, 2016
     DATED: _____________________                                                       M. Ryu




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                                                                     Judge D
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                                                                  E R States Magistrate  Judge




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     [PROPOSED] ORDER GRANTING DEF.’S LETTER REQUEST RE ATTENDANCE AT SETTLEMENT CONFERENCE                  1
     CASE NO. CV-11-6342-PJH (DMR)
     sf-3625571
